IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
Case No. 4:08-CV-23

Patricia E. Murphy
Plaintiff(s),

VS

James T. Patten, et al.
Defendant(s).

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DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER ENTITIES WITH A
DIRECT FINANCIAL INTEREST IN LITIGATION

Pursuant to Fed.R.Civ.P. 7.1 and Local Civil Rule 7.3, or Fed.R.Crim.P. 12.4 and Local Criminal
Rule 12.3,

Patricia E. Murphy who is Plaintiff ,
(name of party) (plaintiff/defendant/other: )

makes the following disclosure:

 

 

1. Is party a publicly held corporation or other publicly held entity?

YES ©) NO

 

YES () NO

 

If yes, identify all parent corporation, including grandparent and great-grandparent corporations:

3. Is 10% or more of the stock of a party owned by a publicly held corporation or other
publicly held entity?

NO

   

If yes, identify all such owners:

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4. Is there any other publicly held corporation or other publicly held entity that has a direct
financial interest in the outcome of the litigation (Local Civil Rule 7.3 or Local Criminal Rule 12.3)?

NO @)

If yes, identify entity and nature of interest:

 

5. Is party a trade association?

 

NO @)

If yes, identify all members of the association, their parent corporations, and any publicly held
companies that own 10% or more of a member’s stock:

6. If case arises out of a bankruptcy proceeding, identify any trustee and the members of any
creditors’s committee:

Signature: s/Andrew O. Whiteman

 

Date: February 11, 2008

 

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